                                                                                            FILED
                              IN THE UNITED STATES DISTRICT COURT                        MAR 15 2018
                                  EASTERN DISTRICT OF MISSOURI
                                     SOUTHEASTERN DIVISION                              U.S. DISTRICT COURT
                                                                                      EASTERN DISTRICT OF MO
                                                                                         CAPE GIRARDEAU
 UNITED STATES OF AMERICA,                     )
                                               )
                 flaintiff,                    )
                                               )
        v.                                     ) No.                 1:18CR00041SNLJ/ACL
                                                )      '------ ~-·-· · - -                  -- --          -
 CORY HUTCHESON,                                ) 18 U.S.C. §§ 1028(a)(7), (b)
                                                ) .
                 Defendant.                    }


                                        INDICTMENT

                                              COUNT I

 THE GRAND JURY CHARGES THAT:

        On or about July 22, 2014, in the Southeastern Division o(the Eastern District of

~ssouri,     the defendant, CORY HUTCHESON, did knowingly possess and use in or affecting

interstate or foreign commerce, without lawful authority', a means of identification of another

person, to wit, a personal mobile telephone number(***) ***-1769 issued to "JH;" knowing that

the means of identification belonged to. another person, with the intent to commit, or to aid or

. abet, or-in connection with, any unlawful activity th~t constitutes a viol~tion of Missouri law, to

wit: Forgery in violation of RS.Mo. Section 570.090 ..

        All in violation of Title 1.8, United States Code, Section 1028(a)(7), (b).

                                             COUNT IT

THE GRAND JURY FURTHER CHARGES THAT:

        On or about July 22, 2014, in the Southeastern Division of the Eastern District of

Missouri, the defendant, CORY HUTCHESON, did knowingly possess and use in or affecting

interstate or f9reign commerce, without lawful authorify, a means of identifi9ation of another
person, to wit, a personal mobile telephone number(***) ***-5820 issued to."MB," knowing

that the means of identification belonged to another person, with the intent to commit, or to aid

or abet, or in connection with, any unlawful activity that con.stitutes a violation of Missouri law,

to wit: Forgery in violation ofR.S.Mo. Section 570.090.

       All in violation of,Title 18, United States Code, Section 1028(a)(7), (b) .

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THE GRAND JURY FURTHER CHARGES THAT:

       On or about October 12, 2014, in the Southeastern Division of the Eastern District of

Missouri, the defendant, CORY HUTCHESON, did knowingly possess and use in or affecting

interstate or foreign commerce, without lawful authority, a means of identification of another

person, to wit, a personal mobi1e telephone number(***) ***-1213 issued to "JP," knowing that "

the means of identification belonged to another person, with the intent to commit, or to aid or

abet, or in connection With, any unlawful activity that constitutes a violation of Missouri law, to

wit: Forgery in violation ofR.S.M;o. Section 570.090.

       All in violation of Title 18, United States Code, Section 1028(a)(7), (b).

                                            COUNT IV

THE GRAND JURY FURTHER CHARGES THAT:

       On or about October 12, 2014, in the Southeastern Division of the Eastern District of

Missouri, the defendant, CORY HUTCHESON, did knowingly possess and use in or affecting

interstate or foreign commerce, without lawful authority, a means of identification of another

person, to wit, a pers.onal mobile telephone number(***) ***-1050 issued to "WC," knowing

that the means of identification belonged to another persqn, with the intent to commit, or to aid
or abet, or in connection with, any unlawful activity that constitutes a violation of Missouri law,

to wit: Forgery in violation of RS.Mo. $ection 570.090.

       All in violation of Title 18, United States Code, Section 1028(a)(7), (b).

                                            COUNTV

THE GRAND JURY FURTHER CHARGES THAT: .

       On or about October 23, 2014, in the Southeastern Division of the Eastern District of

Missouri, the defendant, CORY HUTCHESON, did knowingly possess and u.Se in or affecting
                                                   '
interstate o~ foreign commerce, without lawful authority, ~means of identification of another

person, to wit, a personal mobile telephone numb{'.r (***) ***-7340 issued to "JDt knowillg that

the means of identification belonged to another person, with the intent to commit, or to aid or

abet, or in connection with, any unlawful activity that constitutes a violation of Missouri law, to

wit: Forgery in violation of RS.Mo. Section 570.090.

       All in violation of Title 18, United States Code, Section 1028(a)(7), (b).

                                            COUNT VI

tHE GRAND JURY FURTHER CHARGES THAT:

       On or about October 12, 2014, in the Southeastern Division of the Eastern District of

Missouri, the defendant, CORY HUTCHESON, did knowingly possess and use in or affecting

interstate or foreign commerce, without lawful authority, a means of identi:f;ication of another

person, to wit, a personal mobile telephone number(***) ***-3547 issued to "JJ," knowing that

the means of identification belonged to another person, with the intent to commit, or to aid or

abet, or in connection with, any unlawful actjvity that constitutes a violation of Missouri law, to.

wit: Forgery in violation ofR.S.Mo. Section 570.090.

       All in violation of Title 18, United States Code, Section 1028(a)(7), (b).
l   I   .(_,




                                                          COUNT VII

               THE GRAND JURY FURTHER CHARGES THAT:

                       On or about January 15, 2017, in Mississippi County, in the Southeastern Division of the

               Eastern District of Missouri, the defendant, CORY HUTCHESON, did knowingly possess and

               use in or affecting interstate or foreign commerce, without lawful authority, a means of

               identification of another person, to wit, a 'personal mobile telephone number(***) ***-0736

               issued to "CD," knowing that the means of identification belonged to another person, with the

               intent to commit, or to aid or abet, or in connection with, any unlawful activity that constitutes a

               violation of Missouri law, to wit: Forgery in violation of R.S.Mo. Section 570.090.

                      All in violation of Title 18, United States Code, Section 1028(a)(7), (b).

                                                          COUNT VIII

               THE GRAND JURY FURTHER CHARGES THAT:

                       On or about Marcli 1, 2017, in Mississippi County, in the Southeastern Division of the

               Eastern District of Missouri, the defendant, CORY HUTCHESON, did knowingly possess and

               use in or affecting interstate or foreign commerce, without lawful authority, a means of

               identification of another person, to wit, a personal mobile telephone number(***) ***-9674

               issued to "ED," knowing that the means of identification belong~d to ·another person, with the .

               intent to commit, or to aid or abet, or in connection with, any unlawful activity that constitutes a

               violation of Missouri law, to wit: Forgery in violation of R.S.Mo. Section 570.090.

                      All in violation of Title 18, United States Code, Section 1028(a)(7), (b).

                                                           COUNT IX

               THE GRAND JURY FURTHER CHARGES THAT:
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                           On or about January 25, 2017, in Mississippi County, in the Southeastern Division of the

                    Eastern District of Missouri, the defendant, CORY HUTCHESON, did knowingly possess and

                    use in or affecting interstate or foreign commerce, without lawful authority, a means of

                    identification of another person, to wit, a personal mobile telephone number (***) ***-8358

                    issued to "DG" knowing that the means of identification ~elonged to another person, with the

                    intent to commit, or to aid or abet, or in connection with, any unlawful activity that constitutes a

                    violation of Missouri law, to wit: Forgery in violation of RS.Mo. Section 570.090.

                           All in violation of Title 18, United States Code, Section 1028(a)(7), (b).

                                                                COUNTX

                    THE GRAND JURY FURTHER CHARGES THAT:

                           On or about February 8, 2017, in Mississippi County, in ~e Southeastern Division of the

                    Eastern District of Missouri, the defendant, CORY HUTCHESON, did knowingly possess and

                    use in or affecting interstate or foreign commerce, without lawful authority, a means of

                    identification of another person, to wit, a personal mobile telephone number(***) ***-6380

                    issued to "RT," knowing that the means of identification belonged to another person, with the

                    intent to commit, or to aid or abet, or in connect~on with, any unlawful activity that constitutes a

                    violation of Missouri law, to wit: Forgery in violation ofR_.S.Mo. Section 570.090.

                           All in yiolation of Title 18, United States Code, Section 1028(a)(7), (b).

                                                                COUNT XI

                    THE GRAND JURY FURTHER CHARGES THAT:
                           On or about February 24, 2017, in Mississippi County, in the Southeastern Division of

                    the Eastern District of Missouri, the defendant, CORY HUTCllESON1 did knowingly possess

                    and use in or affecting interstate or foreign commerce, without lawful authority, a means of
identification of another person, to wit, a personal mobile telephone number(***) ***-4476

issued to "VE" knowing that the means of identification belonged to another person, with the

intent to commit, or to aid or abet, or in connection with, any unlawful activity that constitutes a

violation of Missouri law, to wit: Forgery in violation of RS.Mo. Section 570.090.

Ail in violation of Title 18, United States Code, Section 1028(a)(7), (b).

                                                  A TRUE BILL.



                                                  FOREPERSON
JEFFREY B. JENSEN
UNITED STATES ATTORNEY



KEITH D. SORRELL, #38283MO
ASSISTANT UNITED STATES ATTORNEY
